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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )
                vs.                              )                 8:05CR94
                                                 )
VICENTE PADILLA-NAVARRO and                      )          SCHEDULING ORDER
LEONARDO VARGAS-GONZALEZ,                        )
                                                 )
                       Defendants.               )


       IT IS ORDERED that the following is set for hearing on February 1, 2006 at 1:30 p.m.
before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska:

         - Initial Appearance/Arraignment on Superseding Indictment

         Since this is a criminal case, the defendants must be present, unless excused by the
Court.    An interpreter will be provided by the Court.

         DATED this 26th day of January, 2006.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
